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                             EXHIBIT 18

                             In Support of

            United States’ Reply to Defendants’ Oppositions to
     United States’ Second Motion for Partial Summary Judgment and
     United States’ Response to Cross-Motions for Summary Judgment
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 1                UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF LOUISIANA
 2
 3
         IN RE: OIL SPILL                 MDL NO. 2179
 4       BY THE OIL RIG
         "DEEPWATER HORIZON"              SECTION:       J
 5       IN THE GULF OF
         MEXICO, ON APRIL                 JUDGE BARBIER
 6       20, 2010                         MAG. JUDGE SHUSHAN
 7




13
14
              Deposition of NICHOLAS G. HUCH,
15     taken in the Pan American Life Center,
       Bayou Room, 11th Floor, 601 Poydras Street,
16     New Orleans, Louisiana 70130, on Monday,
       May 16, 2011.
17
18
       APPEARANCES:
19
20
                  LIEFF CABRASER HEIMANN & BERNSTEIN,
21                LLP
                  (By: Steven E. Fineman, Esquire and
22                      Annika K. Martin, Esquire)
                  250 Hudson Street, 8th Floor
23                New York, New York 10013
                      (Attorneys for Plaintiff's
24                     Steering Committee)
25

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 1             Q.       Okay.      I presume by this point
 2     you were either still finalizing the
 3     transaction documents or waiting for
 4     approval to execute them; is that true?                          By
 5     December 17, 2009?
 6             MR. BEFFA:
 7                      Object to the form.
 8             THE WITNESS:
 9                      I'm sorry, I'm just reading.
10     EXAMINATION BY MR. FINEMAN:
11             Q.       I'm sorry, it's my fault.                 I'm
12     going to ask you a question other than
13     what's on the document.
14             A.       I'm sorry.
15             Q.       That's okay.          So by December 17,
16     2009, do you recall were you pretty much
17     finished with the transaction documents or
18     are you still negotiating?
19             A.       I don't recall if we were
20     finished.        We might have had some small
21     little tweaks to do yet.
22             Q.       So this e-mail from you to
23     Mr. Beirne, I think what you're saying here
24     is that -- you say a piece of business we
25     still probably need to include in the well

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 1             Q.       Okay.
 2             MR. FINEMAN:
 3                      Can I have 24, please?               This is
 4     2315, Huch.         I'm sorry, 2315, APC SHS2A
 5     000000958, 959.
 6                      (Whereupon, the document
 7     referred to was marked as Exhibit No. 2315
 8     for identification.)
 9     EXAMINATION BY MR. FINEMAN:
10             Q.       These e-mails are dated
11     December 1, 2009, December 30, 2009 and
12     January 4, 2010.
13             A.       Uh huh.
14             Q.       And it looks like communication
15     between you and Mr. Beirne where you're
16     still finalizing the documents and getting
17     them ready for execution in early
18     January 2010?
19             A.       No.     They were already signed by
20     then.
21             Q.       They're already signed by that
22     point?
23             A.       Yes.
24             Q.       Okay.      I mean, I know they're
25     dated December 17th.              They're dated as

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 1     something signed the 17th but you think
 2     they were actually signed at the end of
 3     December?
 4             A.       Yes.
 5             Q.       Do you think they were signed by
 6     Anadarko in December and then by BP in
 7     January?       Is that what happened?
 8             A.       I don't recall that, who signed
 9     them first.
10             Q.       Okay.      Well, the e-mail from
11     Beirne to you is dated January 4 and it
12     says thanks, Nick, I will be back in the
13     office Wednesday and will get Kemper to
14     execute everything and send it over.
15             A.       Obviously it appears that
16     Anadarko signed it first.
17             Q.       And then BP executed the
18     documents in early January?
19             A.       Yes.
20             Q.       I'm going to show you what's
21     been marked previously as 1942.                    Take a
22     quick gander at that.
23             MR. NEGER:
24                      The definition?
25             MR. FINEMAN:

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